UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 SPENCER MEYER, individually and on behalf of
 those similarly situated,
                                                          1:15 Civ. 9796 (JSR)
                          Plaintiffs,
         -against-                                        NOTICE OF MOTION TO
                                                          VACATE AN ARBITRAL
 TRAVIS KALANICK and UBER                                 AWARD
 TECHNOLOGIES, INC.,
                          Defendants.

       PLEASE TAKE NOTICE THAT Plaintiff Spencer Meyer moves this Court for an order

vacating an arbitral award entered on February 22, 2020 in favor of Uber Technologies, Inc. (the

Award). Plaintiff’s motion is based upon this Notice of Motion, the Memorandum of Law in

Support of Plaintiff’s Motion to Vacate an Arbitral Award, the supporting declarations of Brian

M. Feldman, Lauren Mendolera, Kaleigh Wood, and Spencer Meyer, and all exhibits thereto, all

documents in the Court’s file, any matters of which the Court may take judicial notice, and any

evidence or argument presented in this matter.

       Plaintiff respectfully requests that the Court vacate the Award under 9 U.S.C. § 10(a)(2).

As per the Court’s instruction, any answering papers must be served by June 12, 2020; any reply

papers must be filed by June 19, 2020; and oral argument is scheduled for July 30, 2020, at 2:00

in the afternoon.


Dated: Rochester, New York                         Respectfully submitted,
       May 22, 2020
                                                     /s/ Brian M. Feldman
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